          Case 1:19-cr-00006-AT Document 203 Filed 10/27/21 Page 1 of 1

                                                                   USDC SDNY
UNITED STATES DISTRICT COURT                                       DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                      ELECTRONICALLY FILED
UNITED STATES OF AMERICA,                                          DOC #: _________________
                                                                   DATE FILED: __10/27/2021__

               -against-
                                                                           19 Cr. 6-4 (AT)
PHYLLIS HUBBARD,
                                                                               ORDER
                       Defendant.
ANALISA TORRES, District Judge:

        The sentencing for Defendant Hubbard scheduled for November 15, 2021, at 2:00 p.m.,
will proceed in person.

        In light of the ongoing COVID-19 pandemic, all individuals seeking entry to 500 Pearl
Street must complete a questionnaire and have their temperature taken before being allowed
entry into the courthouse. To gain entry to 500 Pearl Street, follow the instructions provided
here:

       https://www.nysd.uscourts.gov/sites/default/files/2020-10/QR%20Sign%20-
       %20Public Media v.5.pdf.

        All individuals must practice social distancing at all times in the courthouse. Individuals
must wear a mask that covers their nose and mouth at all times in the courthouse. Bandanas,
gaiters, and masks with valves are not permitted.

        As previously ordered, EFC No. 202, by November 12, 2021, at 5:00 p.m., counsel must
advise the Court of how many spectators will attend the proceeding. The parties must advise the
Court by the same date how many individuals will be seated at counsels’ tables. Special
accommodations may need to be made if more than ten unvaccinated spectators are expected to
attend, or more than three unvaccinated individuals are expected to be seated at each counsel’s
table.

       SO ORDERED.

Dated: October 27, 2021
       New York, New York
